Case 9:23-cv-81310-RLR Document 25 Entered on FLSD Docket 02/20/2024 Page 1 of 13


                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                   WEST PALM BEACH DIVISION

                              CASE NO.: 9:23-CV-81310-ROSENBERG


  MARIA CAGLIOTI, ELIZABETH
  CAGLIOTI, and TERESA CAGLIOTI,

                          Plaintiffs,

  v.

  COLONIAL CLUB CONDOMINIUM
  ASSOC. SEC 1, INC., and KATHY
  BAUER, individually

                          Defendants,
                                                     /

       DEFENDANTS, COLONIAL CLUB CONDOMINIUM ASSOC. SEC 1 INC’S AND
       KATHY BAUER’S ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFFS’
                        FIRST AMENDED COMPLAINT

            Defendants, Colonial Club Condominium Assoc. Sec 1 Inc. (the “Condo”), and Kathy Bauer

  by and through their undersigned counsel, hereby submit their Answer and Affirmative Defenses to

  Plaintiffs’ Maria Caglioti, Elizabeth Caglioti, and Teresa Caglioti, First Amended Complaint, and

  states as follows:

                                        I.   NATURE OF ACTION

       1.      Denied.

                                             II.         PARTIES

       2.      Deny knowledge and information sufficient to form a belief as to the truth of the

               allegations set forth in paragraph 2 of the Amended Complaint.

       3.      Deny knowledge and information sufficient to form a belief as to the truth of the

               allegations set forth in paragraph 3 of the Amended Complaint.



                                                   Page 1 of 13
Case 9:23-cv-81310-RLR Document 25 Entered on FLSD Docket 02/20/2024 Page 2 of 13


     4.    Deny knowledge and information sufficient to form a belief as to the truth of the

           allegations set forth in paragraph 4 of the Amended Complaint.

     5.    Admitted.

     6.    Admitted, except denies that any reference to Colonial Club should also include Bauer.

     7.    Denied and refer all questions of law to the fact finder for a determination on same.

     8.    Denied and refer all questions of law to the fact finder for a determination on same.

                            III.   JURISDICTION AND VENUE

     9.    Admitted for jurisdictional purposes only; otherwise denied.

     10.   Admitted.

            IV.      FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

     11.   Denied.

     12.   Deny knowledge and information sufficient to form a belief as to the truth of the

           allegations set forth in paragraph 12 of the Amended Complaint.

     13.   Deny knowledge and information sufficient to form a belief as to the truth of the

           allegations set forth in paragraph 13 of the Amended Complaint.

     14.   Deny knowledge and information sufficient to form a belief as to the truth of the

           allegations set forth in paragraph 14 of the Amended Complaint.

     15.   Deny knowledge and information sufficient to form a belief as to the truth of the

           allegations set forth in paragraph 15 of the Amended Complaint.

     16.   Deny knowledge and information sufficient to form a belief as to the truth of the

           allegations set forth in paragraph 16 of the Amended Complaint.

     17.   Denied.

     18.   Denied.

     19.   Denied.



                                          Page 2 of 13
Case 9:23-cv-81310-RLR Document 25 Entered on FLSD Docket 02/20/2024 Page 3 of 13


     20.   Deny knowledge and information sufficient to form a belief as to the truth of the

           allegations set forth in paragraph 20 of the Amended Complaint.

     21.   Deny knowledge and information sufficient to form a belief as to the truth of the

           allegations set forth in paragraph 21 of the Amended Complaint.

     22.   Denied.

     23.   Admitted.

     24.   Admitted.

     25.   Admitted.

     26.   Denied.

     27.   Exhibit 1 speaks for itself; otherwise denied.

     28.   Admitted.

     29.   Exhibit 2 speaks for itself; otherwise denied.

     30.   Admitted.

     31.   Denied.

     32.   Admitted.

     33.   Denied.

     34.   Denied.

     35.   Denied.

     36.   Exhibit 3 speaks for itself; otherwise denied.

     37.   Exhibit 3 speaks for itself; otherwise denied.

     38.   Denied.

     39.   Exhibit 3 speaks for itself; otherwise denied.

     40.   Exhibit 4 speaks for itself; otherwise denied.

     41.   Exhibit 4 speaks for itself; otherwise denied.



                                           Page 3 of 13
Case 9:23-cv-81310-RLR Document 25 Entered on FLSD Docket 02/20/2024 Page 4 of 13


     42.   Denied.

     43.   Exhibit 4 speaks for itself; otherwise denied.

     44.   Denied.

     45.   Denied and reference is made to the document cited therein, which speaks for itself.

     46.   Exhibit 5 speaks for itself; otherwise denied.

     47.   Denied.

     48.   Exhibit 6 speaks for itself; otherwise denied.

     49.   Exhibit 6 speaks for itself; otherwise denied.

     50.   Denied.

     51.   Admitted.

     52.   Denied.

     53.   Exhibit 7 speaks for itself; otherwise denied.

     54.   Exhibit 8 speaks for itself; otherwise denied.

     55.   Denied.

     56.   Denied.

     57.   Denied and refer to the legal action referred to therein for its full terms, conditions and

           context.

     58.   Denied and refer to the legal action referred to therein for its full terms, conditions and

           context.

     59.   Admitted.

     60.   Denied.

     61.   Denied.

     62.   Denied.




                                           Page 4 of 13
Case 9:23-cv-81310-RLR Document 25 Entered on FLSD Docket 02/20/2024 Page 5 of 13


     63.   Deny knowledge and information sufficient to form a belief as to the truth of the

           allegations set forth in paragraph 63 of the Amended Complaint.

     64.   Exhibit 9 speaks for itself; otherwise denied.

     65.   Denied.

     66.   Denied.

     67.   Denied.

     68.   Denied.

     69.   Denied.

     70.   Denied.

     71.   Deny knowledge and information sufficient to form a belief as to the truth of the
           allegations set forth in paragraph 71 of the Amended Complaint.



                                 V.     CAUSES OF ACTION

                                 COUNT I
                  FAILURE TO ACCOMMODATE MARIA CAGLIOTI

     72.   Defendants re-allege and incorporate their responses to Paragraphs 1-71 above.

     73.   Deny knowledge and information sufficient to form a belief as to the truth of the

           allegations set forth in paragraph 73 of the Amended Complaint.

     74.   Denied.

     75.   Denied.

     76.   Denied.

     77.   Denied.

     78.   Denied.

     79.   Denied.

     80.   Denied.



                                           Page 5 of 13
Case 9:23-cv-81310-RLR Document 25 Entered on FLSD Docket 02/20/2024 Page 6 of 13


     81.    Denied.

     82.    Denied.

     83.    Denied.

     84.    Denied.

     85.    Denied.

     86.    Denied.

     87.    Denied.

     88.    Denied.

     89.    Denied.

                                 COUNT II
                FAILURE TO ACCOMMODATE ELIZABETH CAGLIOTI

     90.    Defendants re-allege and incorporate their responses to Paragraphs 1-89 above.

     91.    Deny knowledge and information sufficient to form a belief as to the truth of the

            allegations set forth in paragraph 91 of the Amended Complaint.

     92.    Denied.

     93.    Denied.

     94.    Denied.

     95.    Denied.

     96.    Denied.

     97.    Denied.

     98.    Denied.

     99.    Denied.

     100.   Denied.

     101.   Denied.




                                          Page 6 of 13
Case 9:23-cv-81310-RLR Document 25 Entered on FLSD Docket 02/20/2024 Page 7 of 13


     102.   Denied.

     103.   Denied.

     104.   Denied.

     105.   Denied.

     106.   Denied.

     107.   Denied.

     108.   Denied.


                                 COUNT III
                  FAILURE TO ACCOMMODATE TERESA CAGLIOTI

     109.   Defendants re-allege and incorporate their responses to Paragraphs 1-108 above.

     110.   Deny knowledge and information sufficient to form a belief as to the truth of the

            allegations set forth in paragraph 110 of the Amended Complaint.

     111.   Denied.

     112.   Denied.

     113.   Denied.

     114.   Denied.

     115.   Denied.

     116.   Denied.

     117.   Denied.

     118.   Denied.

     119.   Denied.

     120.   Denied.

     121.   Denied.

     122.   Denied.



                                          Page 7 of 13
Case 9:23-cv-81310-RLR Document 25 Entered on FLSD Docket 02/20/2024 Page 8 of 13


     123.   Denied.

     124.   Denied.

     125.   Denied.

                             COUNT IV
       MAKING A DWELLING UNAVAILABLE ON ACCOUNT OF DISABILITY

     126.   Defendants re-allege and incorporate their responses to Paragraph 1-125 above.

     127.   Denied.

     128.   Admitted.

     129.   Denied.

     130.   Denied.

     131.   Denied.

     132.   Denied.

                                        COUNT V
                        ILLEGAL INTIMIDATION OF TERESA CAGLIOTI

     133.   Defendants re-allege and incorporate their responses to Paragraph 1-132 above.

     134.   Denied and refer all questions of law to the fact finder for a determination of same.

     135.   Denied.

     136.   Denied.

     137.   Denied.

     138.   Denied.

                                       COUNT VI
                      ILLEGAL INTIMIDATION OF ELIZABETH CAGLIOTI

     139.   Defendants re-allege and incorporate their responses to Paragraph 1-138 above.

     140.   Denied and refer all questions of law to the fact finder for a determination of same.

     141.   Denied.




                                           Page 8 of 13
Case 9:23-cv-81310-RLR Document 25 Entered on FLSD Docket 02/20/2024 Page 9 of 13


      142.    Denied.

      143.    Denied.

      144.    Denied.


          WHEREFORE, Defendants, Colonial Club Condominium Assoc. Sec 1 Inc, and Kathy

  Bauer, hereby demand judgment in their favor and against the Plaintiffs for interest, costs, and

  reasonable attorneys’ fees as provided by statute and/or contract and any other relief this court

  deems just and proper.



                                     AFFIRMATIVE DEFENSES

                                       First Affirmative Defense

          As their first affirmative defense. Defendants state that the Plaintiffs claims fail because

  the Plaintiffs are not individuals with disabilities within the meaning of the Fair Housing Act

  (“FHA”).

                                      Second Affirmative Defense

          As their second affirmative defense, Defendants state that the Complaint fails to state a

  claim, in whole or in part, upon which relief can be granted, because, among other things, the

  Plaintiffs failed to allege sufficient ultimate facts showing that the Plaintiffs are entitled to relief

  under the FHA, and/or any other state law applicable to this factual scenario.

                                      Third Affirmative Defense

          As their third affirmative defense, Defendants state that Plaintiffs’ claims fail because

  Plaintiffs failed to adequately request a reasonable accommodation. Though the Plaintiffs

  submitted purported medical letters, these letters were in all material respects identical letters and

  did not provide sufficient information to properly consider the requests for reasonable




                                               Page 9 of 13
Case 9:23-cv-81310-RLR Document 25 Entered on FLSD Docket 02/20/2024 Page 10 of 13


   accommodations for the Plaintiffs, including among other things, the letters lacked information

   showing how the alleged disabilities substantially limited major life activities. Further, they do

   now show how the animals are peculiarly suited to ameliorate the substantial limitation on major

   life activities.

                                       Fourth Affirmative Defense

           As their fourth affirmative defense, Defendants state that Plaintiff, Maria Caglioti

   frustrated the interactive process by not engaging in a dialogue with Defendants regarding a request

   for reasonable accommodation.

                                        Fifth Affirmative Defense

           As their fifth affirmative defense, Defendants state that Kathy Bauer is one member of the

   Board of Directors (and one vote) and does not have independent decision-making authority.

                                        Sixth Affirmative Defense

           As their sixth affirmative defense, Defendants state that at all times material to the

   allegations in the Complaint, the Defendants acted without malice, without reckless disregard of

   the rights of the Plaintiffs, in good faith and with a reasonable justification or belief in the legality

   and lawfulness of its actions to enforce the Condo’s non-discriminatory rules and regulations and

   act in accordance with their legal obligations.

                                       Seventh Affirmative Defense

           As their seventh affirmative defense, Defendants state that the Complaint fails to state a

   claim, in whole or in part, upon which relief can be granted. Plaintiffs failed to allege sufficient

   ultimate facts showing that the Plaintiffs are entitled to relief under 42 U.S.C. § 3604 et seq.

   because the Plaintiffs have failed to allege, or demonstrate, any discriminatory animus on the

   Defendant’s behalf to sustain a cause of action based upon 42 U.S.C. § 3604.




                                                Page 10 of 13
Case 9:23-cv-81310-RLR Document 25 Entered on FLSD Docket 02/20/2024 Page 11 of 13




                                         Eight Affirmative Defense

            As their eight affirmative defense, Defendants state that Plaintiffs failed to allege sufficient

   ultimate facts demonstrating that the Plaintiffs are entitled to punitive damages under the Federal

   Fair Housing Act 42 U.S.C. § 3601, et seq.

                                         Ninth Affirmative Defense

            As their ninth affirmative defense, Defendants state Plaintiffs claims under 42 U.S.C. §

   3617 fail as Defendants did not retaliate against Plaintiff in any way, shape, or form in terms of

   Plaintiffs accommodation request pursuant to 42 U.S.C. § 3617. Defendants have a fiduciary duty

   to uphold and enforce the Condo’s Declaration. Defendants legal right to move forward with legal

   proceedings to seek removal under the Declaration, is not in violation for 42 U.S.C § 3617.

                                         REQUEST FOR RELIEF

            Based upon these answers and affirmative defenses, Defendants, Colonial Club

   Condominium Assoc. Sec 1 Inc, and Kathy Bauer respectfully request that the Court enter a

   judgment as follows:

      (a)       Dismissing the Plaintiffs’ Complaint in its entirety, on the merits, and with prejudice;

      (b)       Denying the Plaintiffs’ request for relief in its entirety;

      (c)       Awarding Defendants their reasonable costs and attorneys’ fees; and

      (d)       Granting such other and further relief as this Court should deem appropriate under the

                circumstances.




                                                Page 11 of 13
Case 9:23-cv-81310-RLR Document 25 Entered on FLSD Docket 02/20/2024 Page 12 of 13




                                          Respectfully submitted,

                                                BOYD RICHARDS PARKER & COLONNELLI
                                                100 S.E. 2nd Street, Suite 2600
                                                Miami, Florida 33131
                                                Tel: 786-425-3905
                                                Fax: 786-425-3905
                                                For Service of Pleadings:
                                                serviceMIA@boydlawgroup.com


                                                By:     /s/ Bryan J. Mazzola
                                                        BRYAN J. MAZZOLA, ESQ.
                                                        FBN: 1021407
                                                        bmazzola@boydlawgroup.com
                                                        mapereira@boydlawgroup.com
                                                        MAURICE J. MITCHELL, ESQ.
                                                        FBN: 1038868
                                                        mmitchell@boydlawgroup.com
                                                        dmorales@boydlawgroup.com
                                                        Counsel for Defendants




                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that the foregoing was electronically filed with the Clerk of the

   Court via CM/ECF on this _20th___ day of February 2024. We also certify that the foregoing was

   served on all counsel or parties of record on the attached Service List either via transmission of

   Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for those

   counsel or parties who are not authorized to receive electronic Notices of Filing.

                                                By:     /s/ Bryan J. Mazzola
                                                        BRYAN J. MAZZOLA, ESQ.
                                                        FBN: 1021407




                                             Page 12 of 13
Case 9:23-cv-81310-RLR Document 25 Entered on FLSD Docket 02/20/2024 Page 13 of 13




                                     SERVICE LIST
       MARIA CAGLIOTI, ELIZABETH CAGLIOTI, AND TERESA CAGLIOTI V.
      COLONIAL CLUB CONDOMINIUM ASSOC. SEC 1, INC., and KATHY BAUER,
                             INDIVIDUALLY
                           CASE NO.: 9:23-CV-81310-ROSENBERG


  BRYAN J. MAZZOLA, ESQ. (FBN: 1021407)           MARCY I. LAHART, ESQ. (FBN: 0967009)
  bmazzola@boydlawgroup.com                       Marcy@floridaanimallawyer.com
  MAURICE J. MITCHELL, ESQ. (FBN: 103886)         MARCY I. LAHART, P.A.
  mmitchell@boydlawgroup.com                      249 S.E. Tuscawilla Road
  BOYD RICHARDS PARKER & COLONNELLI               Micanopy, FL 32667
  100 S.E. 2nd Street, Suite 2600                 (352) 545-7001
  Miami, Florida 33131
  Tel: 786-425-3905                               Counsel for Plaintiffs
  Fax: 786-425-3905
  For Service of Pleadings:
  serviceMIA@boydlawgroup.com

  Counsel for Defendants




                                      Page 13 of 13
